Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 1 of 13




                             EXHIBIT C
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 2 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 1 of 12




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                                     CASE:

    JOHN MEGGS,

                Plaintiff,
    v.

    HOTEL GENPAR, LTD. D/B/A
    INTERCONTINENTAL AT DORAL
    MIAMI,

            Defendant.
    ____________________________________/

                                                COMPLAINT

           Plaintiff, JOHN MEGGS, individually and on behalf of all other similarly situated

    mobility-impaired individuals (hereinafter “Plaintiff”), sues, HOTEL GENPAR, LTD. D/B/A

    INTERCONTINENTAL AT DORAL MIAMI (hereinafter “Defendant”), and as grounds alleges:

                                  JURISDICTION, PARTIES. AND VENUE

           1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

    litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

    Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

           2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

    § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

           3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

    2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

    U.S.C. § 12181, et seq.

           4.           Plaintiff, JOHN MEGGS, is an individual over eighteen years of age, and is

    otherwise sui juris. Plaintiff is the President of the Not-for-Profit Corporation, Access 4 All,
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 3 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 2 of 12




    Incorporated.

            5.       At all times material, Defendant, HOTEL GENPAR, LTD., was and is a Florida

    Limited Partnership, organized under the laws of the state of Florida, with its principal place of

    business in Miami, Florida.

            6.       At all times material, Defendant, HOTEL GENPAR, LTD., owned and/or

    operated a commercial location at 2505 NW 87th Ave Doral, Florida 33155 (hereinafter the

    “Commercial Property”). Defendant, HOTEL GENPAR, LTD., holds itself out to the public as

    “Intercontinental at Doral Miami.”

            7.       Venue is properly located in the Southern District of Florida because Defendant’s

    Commercial Property is located in Miami, Florida, Defendant regularly conduct business within

    Miami, Florida, and because a substantial part(s) of the events or omissions giving rise to these

    claims occurred in Miami, Florida.

                                       FACTUAL ALLEGATIONS

            8.       Although over twenty-nine (29) years have passed since the effective date of Title

    III of the ADA, Defendant have yet to make their facilities accessible to individuals with

    disabilities.

            9.       Congress provided commercial businesses one and a half years to implement the

    Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

    publicity the ADA has received since 1990, Defendant continue to discriminate against people

    who are disabled in ways that block them from access and use of Defendant’s Commercial

    Property and the business therein, including the retail shopping store.

            10.      The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

    requires landlords and tenants to be liable for compliance.



                                                     2
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 4 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 3 of 12




           11.       Plaintiff, JOHN MEGGS, is an individual with disabilities as defined by and

    pursuant to the ADA. Plaintiff, JOHN MEGGS, is, among other things, a paraplegic and is

    therefore substantially limited in major life activities due to his impairment, including, but not

    limited to, not being able to walk or stand. Plaintiff requires the use of a wheelchair to ambulate.

           12.       Defendant HOTEL GENPAR, LTD., owns, operates and/or oversees the

    Commercial Property, its general parking lot and parking spots specific to the business therein,

    and it owns, operates and oversees said Commercial Property located in Miami, Miami-Dade

    County, Florida, that is the subject of this Action.

           13.       The individual Plaintiff visited the Commercial Property and business located

    within the Commercial Property on or about November 18, 2021 and encountered multiple

    violations of the ADA that directly affected his ability to use and enjoy the property. He plans to

    return to and visit the Commercial Property and the other business located within the Commercial

    Property, in order to avail himself of the goods and services offered to the public at the business

    therein, if the property/business become accessible.

           14.       Plaintiff visited the Commercial Property as a patron/customer, visits the

    Commercial Property and business within the Commercial Property as a patron/customer, and

    intends to return to the Commercial Property and business therein in order to avail himself of the

    goods and services offered to the public at the property. Plaintiff spends time in and near Miami,

    Florida, in the same state as the Commercial Property, and intends to return to the property on or

    about two (2) months’ time of the filing of this Complaint as he regularly conducts business on

    behalf of the Not-For-Profit Corporation, in and around Miami, Florida, including but not limited

    to meeting with organization’s members and meeting with undersigned counsel. Specifically,

    Plaintiff intends to revisit the Commercial Property on or about March 2022 in order to participate



                                                      3
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 5 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 4 of 12




    a meeting for the Not-For-Profit Corporation.

           15.       The Plaintiff found the Commercial Property to be rife with ADA violations.

    The Plaintiff encountered architectural barriers at the Commercial Property and wishes to continue

    his patronage and use of the premises.

           16.       The Plaintiff, JOHN MEGGS, has encountered architectural barriers that are in

    violation of the ADA at the subject Commercial Property and business therein. The barriers to

    access at Defendant’s Commercial Property and business within the Commercial Property have

    each denied or diminished Plaintiff’s ability to visit the Commercial Property and endangered his

    safety. The barriers to access, which are set forth below, have likewise posed a risk of injury(ies),

    embarrassment, and discomfort to Plaintiff, JOHN MEGGS, and others similarly situated.

           17.       Defendant, HOTEL GENPAR, LTD., own and/or operates, a place of public

    accommodation as defined by the ADA and the regulations implementing the ADA, 28 CFR

    36.201 (a) and 36.104. Defendant is responsible for complying with the obligations of the ADA.

    The place of public accommodation that Defendant own and/or operate is the Commercial Property

    hotel business located at 2505 NW 27th Ave Doral, Florida 33172.

           18.       Plaintiff, JOHN MEGGS, has a realistic, credible, existing and continuing threat

    of discrimination from the Defendant’s non-compliance with the ADA with respect to the

    described Commercial Property, but not necessarily limited to the allegations in this Complaint.

    Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

    at the Commercial Property and the business located within the Commercial Property, in violation

    of the ADA. Plaintiff desires to visit the Commercial Property and business located within the

    Commercial Property, not only to avail himself of the goods and services available at this

    Commercial Property and business therein, but to assure himself that the property and business



                                                     4
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 6 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 5 of 12




    therein are in compliance with the ADA, so that he and others similarly situated will have full and

    equal enjoyment of the property and business therein without fear of discrimination.

                                       COUNT I – ADA VIOLATIONS

              19.        The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

    through 18 above as though fully set forth herein.

              20.        Defendant, HOTEL GENPAR, LTD., have discriminated against the individual

    Plaintiff by denying him access to, and full and equal enjoyment of, the goods, services, facilities,

    privileges, advantages and/or accommodations of the Commercial Property and other business

    located within the Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

              21.        Defendant has discriminated, and continue to discriminate, against Plaintiff in

    violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

    January 26, 1993, if a Defendant have ten (10) or fewer employees and gross receipts of $500,000

    or less). A list of the violations that Plaintiff encountered during his visit to the Defendant’s

    Commercial Property and hotel business within the Commercial Property, include, but are not

    limited to, the following:

       A. Parking and Exterior Accessible Route

       i.           There is no compliant route from transit, sidewalk, and parking areas for John Meggs

                    to access Intercontinental Doral which violates the requirements in Sections 4.1.2 and

                    4.3 of the ADAAG and 2010 ADAS Sections 402, 403, 405 and 406.

       ii.          Accessible routes at Intercontinental Doral have >3% cross slopes (>2%) creating

                    hazardous conditions for John Meggs in violation of ADAAG Section 4.3 and Sections

                    402 and 403 of the 2010 ADAS.

       iii.         Accessible routes at Intercontinental Doral have >3% cross slopes (>2%) creating

                    hazardous conditions for John Meggs in violation of ADAAG Section 4.3 and Sections

                                                        5
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 7 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 6 of 12




             402 and 403 of the 2010 ADAS.

      iv.    Accessible routes at Intercontinental Doral have changes in level of (>3/4”) creating

             hazardous conditions for John Meggs violating ADAAG Section 4.3 and Sections 402

             and 403 of the 2010 ADAS.

      v.     Accessible routes at Intercontinental Doral have changes in level of (>3/4”) creating

             hazardous conditions for John Meggs violating ADAAG Section 4.3 and Sections 402

             and 403 of the 2010 ADAS.

      i.     Doors in Intercontinental Doral have inadequate maneuvering clearance of preventing

             use by John Meggs violating Section 4.13 of the ADAAG, Section 404 and Table

             404.2.4.2 of the 2010 ADAS.

      B. Access to Goods and Services

      i.     Counters are, in excess of 36”, preventing John Meggs from using, in violation of

             Section 7.2 (1) of the ADAAG.

      ii.    Counters are, in excess of 36”, preventing John Meggs from using, in violation of

             Section 7.2 (1) of the ADAAG.

      iii.   Table-top and writing surface heights are (28” min / 34” max), preventing use by John

             Meggs, violating 2010 ADAS.

      iv.    Table knee and toe space is , high (27” min) and 13" deep (17” min), preventing use by

             John Meggs.

      v.     Self-service condiment items are , (48” max), inaccessible to John Meggs, violating

             2010 ADAS Section 308.

      C. Restrooms

      i.     Maneuvering space is inadequate, impeding John Meggs from entering or exiting the



                                                 6
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 8 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 7 of 12




              restroom per 2010 ADAS Sec. 404.

      ii.     Maneuvering space < 16" is inadequate, impeding John Meggs from entering or exiting

              the restroom per 2010 ADAS Sec. 404.

      iii.    Sink knee clearance (27” min @ 8” deep) prevents John Meggs from accessing sink,

              which violates ADAAG and 2010 ADAS Sec. 306.

      iv.     Sink knee clearance (27” min @ 8” deep) prevents John Meggs from accessing sink,

              which violates ADAAG and 2010 ADAS Sec. 306.

      v.      John Meggs unable to use Mirror due to bottom-reflecting surface > 41" AFF (40” AFF

              max), violating the ADAAG and 2010 ADAS.

      vi.     Stall door is not self-closing and/or lacks proper hardware, preventing use by John

              Meggs, violating 2010 ADAS Sec. 604.

      vii.    Toilet flush valve not mounted on wide side, denying access to John Meggs, violating

              the ADAAG and 2010 ADAS Sec. 604.

      viii.   Toilet flush valve not mounted on wide side, denying access to John Meggs, violating

              the ADAAG and 2010 ADAS Sec. 604.

      ix.     John Meggs cannot access the storage areas, violating the ADAAG and 2010 ADAS.

      x.      John Meggs cannot access the storage areas, violating the ADAAG and 2010 ADAS.

      D. Accessible Guestrooms and Suites

      i.      Doors to enter, exit or use the accessible room lack requisite maneuvering clearance

              for users of mobility aids, impeding John Meggs, in violation of ADAAG Sections

              4.13.9 and 9.2.2(3) and 2010 ADAS Sec. 404.

      ii.     Security latch on door is > 59" > 48" AFF, beyond reach of wheelchair users or is not

              operable with one hand without grasping, pinching, or twisting, preventing use by John



                                                  7
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 9 of 13
  Case 1:22-cv-20353-BB Document 1 Entered on FLSD Docket 02/02/2022 Page 8 of 12




                    Meggs, violating the ADAAG and 2010 ADAS.

       iii.         Drapery wands or controls on lamps or HVAC units are of inaccessible design or > 48”

                    AFF > 55", violating the ADAAG and 2010 ADAS Sections 308 and 309.

       iv.          Rods and shelves in closets or wall mounted units > 48" AFF > 60" or lack the clear

                    floor space for John Meggs to approach, violating the ADAAG and 2010 ADAS

                    Section 308.

       v.           Adjustable height hand-held shower wand with a 60" long hose is not provided < 48”

                    AFF Maintained at 70" AFF for John Meggs, violating the ADAAG and 2010 ADAS

                    Sections 308 and 607.

       vi.          Horizontal grab bar not proper on wall alongside shower seat, wall opposite seat (not

                    behind shower seat) for stabilization and aid in a shower

       vii.         wheelchair or transfer from a wheelchair to the folding shower seat, violating the

                    ADAAG and 2010 ADAS Sections 608 and 609.

       viii.        Horizontal grab bar not proper on wall alongside shower seat, wall opposite seat (not

                    behind shower seat) for stabilization and aid in a shower

       ix.          wheelchair or transfer from a wheelchair to the folding shower seat, violating the

                    ADAAG and 2010 ADAS Sections 608 and 609.

       x.           John Meggs cannot reserve accessible guestrooms/suites in the same ways and on the

                    same terms that other persons can reserve guestrooms/suites at Intercontinental Doral,

                    violating ADA requirements.

                                       RELIEF SOUGHT AND THE BASIS

              22.        The discriminatory violations described in this Complaint are not an exclusive list

    of the Defendant’s ADA violations. Plaintiff requests an inspection of the Defendant’s place of



                                                         8
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 10 of
                                      13 on FLSD Docket 02/02/2022 Page 9 of 12
 Case 1:22-cv-20353-BB Document 1 Entered




   public accommodation in order to photograph and measure all of the discriminatory acts violating

   the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

   requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

   presence, which prevented Plaintiff, JOHN MEGGS, from further ingress, use, and equal

   enjoyment of the Commercial Property and the business therein; Plaintiff requests to be physically

   present at such inspection in conjunction with Rule 34 and timely notice.

          23.       The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendant’s Commercial Property and the

   business within the Commercial Property; and has otherwise been discriminated against and

   damaged by the Defendant because of the Defendant’s ADA violations as set forth above. The

   individual Plaintiff, and all others similarly situated, will continue to suffer such discrimination,

   injury and damage without the immediate relief provided by the ADA as requested herein. In order

   to remedy this discriminatory situation, the Plaintiff requires an inspection of the Defendant’s

   places of public accommodation in order to determine all of the areas of non-compliance with the

   Americans with Disabilities Act.

          24.       Defendant have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of their places of public accommodation or commercial facility, in violation of

   42 U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendant continues to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with



                                                    9
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 11 of
                                       13 on FLSD Docket 02/02/2022 Page 10 of 12
 Case 1:22-cv-20353-BB Document 1 Entered




   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          25.        Plaintiff is without adequate remedy at law, will suffer irreparable harm, and have

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

   entitled to recover attorneys’ fees, costs and litigation expenses from Defendant pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          26.        While Defendant, HOTEL GENPAR, LTD., as landlord and owner of the

   Commercial Property Business, is primarily responsible for all ADA violations listed in this

   Complaint, tenants and landlords can be held jointly and severally liable for ADA violations.

          27.        A Defendant is required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public similarly

   situated, will continue to suffer such discrimination, injury and damage without the immediate

   relief provided by the ADA as requested herein. In order to remedy this discriminatory situation,

   the Plaintiff require an inspection of the Defendant’s place of public accommodation in order to

   determine all of the areas of non-compliance with the Americans with Disabilities Act.

          28.        Notice to Defendant is not required as a result of the Defendant’s failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendant.

          29.        Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendant operates their



                                                     10
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 12 of
                                       13 on FLSD Docket 02/02/2022 Page 11 of 12
 Case 1:22-cv-20353-BB Document 1 Entered




   business, located within the Commercial Property located in Miami, Florida, the interiors, exterior

   areas, and the common exterior areas of the Commercial Property and restaurant business to make

   those facilities readily accessible and useable to the Plaintiff and all other mobility-impaired

   persons; or by closing the facility until such time as the Defendant cures its violations of the ADA.

          WHEREFORE, the Plaintiff, JOHN MEGGS, respectfully requests that this Honorable

   Court issue (i) a Declaratory Judgment determining Defendant, at the commencement of the

   subject lawsuit, were and are in violation of Title III of the Americans with Disabilities Act, 42

   U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant, including an order to make all

   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.




                                                    11
Case 1:21-cv-03266-DDD-NRN Document 21-3 Filed 03/04/22 USDC Colorado Page 13 of
                                       13 on FLSD Docket 02/02/2022 Page 12 of 12
 Case 1:22-cv-20353-BB Document 1 Entered




   Dated: February 2, 2022             GARCIA-MENOCAL & PEREZ, P.L.
                                       Attorneys for Plaintiff
                                       4937 S.W. 74th Court
                                       Miami, Florida 33155
                                       Telephone: (305) 553-3464
                                       Facsimile: (305) 553-3031
                                       Primary E-Mail: ajperez@lawgmp.com
                                       Secondary E-Mails: bvirues@lawgmp.com
                                                        dperaza@lawgmp.com

                                        By: ___/s/_Anthony J. Perez________
                                               ANTHONY J. PEREZ
                                               Florida Bar No.: 535451
                                               BEVERLY VIRUES
                                               Florida Bar No.: 123713




                                       12
